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Atiorneys forDcfendants, Actna Life Insurance Company, Business Council of New York

and EL ALAiflines

UNITED STATES DISTRICT COURT
EMMA KURYLA, : FOR THE DISTRICT OF NEW JERSEY

Plaintiff, : CIVIL ACTION NO. 08-474 (DRD)
VS,
ARENA LIFE INSURANCE
COMPANY, BUSINESS COUNCIL OF
NEW YORE AND EL A@ AIRLINES,

Defendants.

CIVEL ACTION - STIPULATION OF DISMISSAL WITHOUT PREJUDICE

The undersigned attorneys for plaintiff, mma Kuryla and defendants, Business Council
of New York and [2] Al Atrlines, hereby agree and stipulate that plaintiff's complaint against said
defendants shall be dismissed without prejudice or costs, and with each party bearing their own
aliorney fees.

His further supulated and acknowledged that this stipulation shall in no way bar or

prechide plainiit?s claim against defendant, Actna Life Insurance Company.
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ABROMSON & CAREY
Attorneys for plaintiff, Emma Kuryla

MCELROY, DEUTSCH, MULVANEY
& CARPENTER, LLP

Attorneys for defendants, Aetna Life
Insurance Company, Business Counci) of
New York and El AT Airlines

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Glenn B. Carey

Dated S/O 200g

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